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Bloatware: What it is + how to spot and remove it
  us.norton.com/blog/online-scams/bloatware


Is your new device running slow? Bloatware could be the problem. Follow this guide to learn
about different types of bloatware, plus how you can find and remove it.

Bloatware definition

Bloatware is unwanted and potentially harmful software preloaded onto new devices.

When you buy a new device, you expect that your equipment should come with a clean
slate. After all, we’re usually buying new devices to replace old ones that are no longer up to
snuff.

The unfortunate reality, however, is that our new devices are often only in near-mint
condition. That’s thanks to bloatware — unwanted apps and software that are preinstalled on
new devices.

It’s not to say that all bloatware is bad. Some, like trialware, you might even appreciate and
invest in yourself. Others can pose cybersecurity risks and violate your privacy. Regardless
of intent, one universal truth is that bloatware, like any download, slows down our devices.
And a slow device is not a device in mint condition.

To help get your new devices running, well, good as new, we’re outlining how to remove
bloatware from different devices, the cybersecurity downfalls of each type of bloatware, and
how to avoid it from the start.


What is bloatware?




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Bloatware is unwanted and potentially harmful software preloaded onto new devices. Also
known as potentially unwanted applications (PUAs), bloatware is often preinstalled by
vendors, manufacturers, or carriers as a form of marketing to put services directly in front of
consumers.

Considering some consumers might find value in the pre-downloaded software, bloatware is
a subjective term. Other consumers, though, might think of bloatware as a weed, and even
resort to calling it crapware.

Essentially, any software, program, or app you did not install on a device yourself can be
considered bloatware.


Why bloatware is a cybersecurity threat
Subjective term aside, one objective truth about bloatware is that it slows down your devices.
That’s because the more programs that are downloaded on your device, the more computing
power is being used, and even if you don’t use the bloatware program, it’s still taking up

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memory on your device.

As a result, your device and the programs you value all run slower. Worse yet, the bloatware
might be malicious and downloaded by an unknown party.

To give a real-life example, in 2014 Lenovo preinstalled software called Superfish on its
devices to put targeted advertisements in front of consumers. Not only did it result in
annoying pop-up ads for users, but Superfish also came with some under-the-radar
cybersecurity threats, including vulnerability to serious cybercrimes.

How to identify bloatware: 5 warning signs




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There are many types of bloatware, each with its own warning signs. But here a few of the
most common red flags to help you identify whether a software, program, or app on your new
device is indeed bloatware:




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   1. The app or program is hard to uninstall: In most cases, bloatware is more difficult to
      remove than regular applications. It may even pop up in your application list after
      you’ve deleted it.
   2. You don't recognize the app or program: If you didn’t install the application yourself,
      it’s likely bloatware.
   3. The app or program is persistent about you making purchases: Certain types of
      bloatware feature aggressive marketing techniques in which they frequently request
      payment for access to a paid version of their software.
   4. Your browser has started to display pop-ups: Bloatware sometimes features
      annoying pop-up windows that can mess with your browser settings, take you
      to malicious websites, and even change your homepage.
   5. The app or program is downright useless to you: A lot of the time, bloatware will be
      useless to you and other users. They are usually applications you’d never install
      yourself.


Now that you know how to find bloatware, let’s look at the different types of bloatware that
can be found on your device.

Types of bloatware plus why it’s installed




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Generally, bloatware falls into two categories: Software that you know is installed on your
devices and software that you don’t know is installed on your devices.

The former is often installed by manufacturers, whether that’s software manufacturers,
device manufacturers, or app developers, to market a product or service to you, perhaps for
a trial period. Some developers may even pay manufacturers to install software on devices,
and that software could be collecting user data.




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So, why do manufacturers allow bloatware to be installed on their devices if it slows them
down? It’s a revenue stream that offsets retail prices. Turns out, what users don’t pay for in
the purchase price, they pay for by potentially compromising their privacy and cybersecurity.
Not to mention, the headache of dealing with bloatware types that are unremovable.

The second type of bloatware is stealthier because it’s purposefully malicious. It’s often
installed unknowingly even to manufacturers and hidden in software to spy on users. This
type of bloatware also can be unknowingly downloaded by users as they’re
browsing websites and accepting cookies.

Luckily, the more you know, the quicker you can eradicate these pesky and potentially
harmful programs.

Trialware
As the name indicates, trialware is a trial-based software preinstalled on devices. This form
of bloatware is blatantly installed by a third party because they’re marketing a service or
product to users by giving them a free taste of it. This could even be in the form of antivirus
software.

The issues arise when the trial goes away and users no longer wish to use it. The result?
The software remains and takes up unnecessary space on a device, weighing down its
processing speed. Thankfully, trialware is easy to uninstall on most devices — you just have
to remember to do it.

Utilities and applications
Of course, every device manufacturer has its own bells and whistles attached to a new
device — think stock apps and music apps installed across all Mac and iOS devices.

The problem is when you don’t use these preinstalled apps and utilities, they skew more
toward junkware and storage hogs. For the most part, third-party applications can be easier
to remove, while applications installed by device manufacturers are permanent.

Just consider the following types of bloatware that may come as a “feature” or “add-on” with
your devices. And consider if you need them, or if you need to uninstall them.

     Navigation apps
     Browser extensions
     Weather apps
     Games
     Health and fitness apps
     Messaging apps
     Finance apps


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     Music players
     Virtual assistants

Adware
Adware is just what it sounds like: advertising software, meaning a piece of software that
exists with the sole purpose of putting ads like pop-ups or banner ads in front of users.

It can be the most malicious type of bloatware because the adware can hide in well-
intentioned software that developers may even pay manufacturers to install on devices. The
reality, however, could be that the adware is capable of spying on users’ activity, leaving you
vulnerable to cyberattacks. Since adware is hard to detect, it’s also harder to eradicate.

How to get rid of bloatware
Some types of bloatware are easy to uninstall, while others require some more effort.
Thankfully, there are bloatware removal tools* that can help you get rid of bloatware. Most
are free and some are powered by crowdsourcing to help you determine how detrimental a
bloatware program is.

A few popular bloatware uninstallers include:

Part of the equation is also knowing when to uninstall bloatware. Generally, when your
device’s performance is below par, that’s when it’s time to turn to one of these tools to scan
for bloatware. Of course, bloatware types range across devices, and there are many ways to
remove unwanted apps and programs.

Rooting or jailbreaking devices is one way to remove bloatware, as these methods grant
users full admin access to remove programs and applications that are even native to
devices.

There also are some app removal programs that can root phones for you. We discourage
this as this could mean sacrificing your cybersecurity and result in a void of your device’s
warranty. Advanced users also might want to leverage PowerShell, a scripting language, to
clear their devices.

For this piece, we’re overviewing the simplest, safest ways to manually eradicate your
devices of bloatware. In short: We’re providing step-by-step instructions for how to delete
unwanted apps and programs for common devices.

How to remove bloatware from Windows 10
Windows 10 gets a bad rap for having bloatware, but the degree varies depending on the
manufacturer. Thankfully, removing unwanted apps and programs is as easy as 1-2-3.


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1. From the Start menu, navigate to Settings.
2. In the settings window, click “Apps.”
3. Select the unwanted app (we’re using the preinstalled 3D Viewer as an example) and
click “Uninstall.”




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Alternatively, you can use the Windows 10 Refresh Tool, which is essentially a factory reset
of your device that removes any downloaded programs. This is perhaps the fastest method
to a clean slate, but it’s not foolproof, as it could also remove any licensed software you have
on your device and won’t remove apps or programs that are native to a device.

How to remove bloatware from MacOS




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MacOS devices often hold bloatware that stems from our browsing activities, rather than
preinstalled software on a new device. This means users should do some regular cleanup of
their devices and use the following steps to do so:

   1. Open a new Finder window.


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  2. Select “Applications” on the left-hand sidebar.
  3. Select the unwanted app (we’re using the preinstalled Keynote app as an example)
     and drag it to your Trash.
  4. Right-click your Trash and select “Empty Trash.”



How to remove bloatware from Android




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When it comes to Android devices, bloatware often comes in the form of apps. For the safest
way to eradicate any on your device, you’ll want to disable them. This will ensure the apps
don’t run in the background of your device, therefore slowing it down, but they will still
use storage space.

   1. From your Applications tab, select “Settings.”
      2. Click “Apps & notifications.” You might have to click “See all XXX apps” to review all
      your downloaded applications.
      3. Select the unwanted app from the list (we’re using the preinstalled Android Auto app
      as an example).
      4. Click “Disable.”



How to remove bloatware from iOS




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Like Android devices, bloatware on iOS devices often comes in the form of unwanted apps.
Follow these steps to delete them for good.

   1. Click your Settings icon, then scroll down and click “General.”
      2. Select “iPhone Storage.”
      3. Select the unwanted app (we’re using the preinstalled Keynote app as an example).
      4. Select “Delete App.”
      5. To confirm, click “Delete App” again.



How to avoid bloatware
Avoiding bloatware can be much easier than uninstalling it. Consider the following methods
to debloat your devices from the start.

Purchase a bloatware-free device
As with all things in life, you get what you pay for — and bloatware-free devices can come
with a higher price tag. Researching manufacturers can help you find brands that have
vowed to avoid bloatware.

Still, even manufacturers don’t always know if their devices are bloatware-free if malicious
actors are installing bloatware on them. For this reason, you could also purchase an
unlocked device that’s not tied to a specific carrier. This, however, means you’re purchasing
a device that might not be under warranty and might not have security measures in place.

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Take inventory of your software

Another best practice is to take stock of all the existing software, apps, and programs on
your devices right when you unbox them. Attempt to uninstall anything you don’t recognize or
feel is unnecessary before downloading your preferred programs. You can use bloatware
uninstallers to determine what is worth avoiding.

Be proactive

Be diligent about fighting bloatware by removing any questionable apps or programs right
when they pop up on our devices. In addition, only download software from known sources
and consider leveraging antivirus software or anti-adware tools to monitor bloatware for
you.

Remember, bloatware is a subjective term. This means you only need to rid your device of it
as you see fit. What’s most important is recognizing that it exists and proactively decluttering
your devices to avoid the potential cyberthreats that stem from unwanted programs.

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